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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                WESTERN DIVISION


UNITED STATES OF AMERICA

v.                                                          CRIMINAL NO. 5:10-CR-14 DCB-FKB

DEWAYNE E. JOHNSON                                                                DEFENDANT


                                               ORDER

       This case is before the Court on the Motion [Doc.124] of Defendant Dewayne Johnson

for authority to file certain motions under seal, to wit:

       1.      Defendant’s Motion to Dismiss for Prosecutorial Misconduct;

       2.      Defendant’s Motion for Oral Depositions or, Alternatively, Deposition upon

               Written Discovery; and

       3.      A third related motion concerning privileged communications between the

               parties.

       The Court finds that good cause is hereby shown, and the Court is of the opinion that the

Motion is due to be, and hereby is, GRANTED.

       IT IS THEREFORE ORDERED that Defendant shall have the authority to file the above

three motions under seal of the Court.

       SO ORDERED, this the 31st day of May, 2011.


                                                       s/David Bramlette
                                                       UNITED STATES DISTRICT JUDGE
Submitted by attorneys for Defendant:

/s/Dennis C. Sweet, III_______________
Dennis C. Sweet, III, (MB # 8105)
Eduardo A. Flechas (MB # 10669)



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